Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 1 of 48 PageID #: 4
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 2 of 48 PageID #: 5
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 3 of 48 PageID #: 6
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 4 of 48 PageID #: 7
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 5 of 48 PageID #: 8
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 6 of 48 PageID #: 9
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 7 of 48 PageID #: 10
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 8 of 48 PageID #: 11
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 9 of 48 PageID #: 12
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 10 of 48 PageID #: 13
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 11 of 48 PageID #: 14
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 12 of 48 PageID #: 15
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 13 of 48 PageID #: 16
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 14 of 48 PageID #: 17
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 15 of 48 PageID #: 18
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 16 of 48 PageID #: 19
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 17 of 48 PageID #: 20
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 18 of 48 PageID #: 21
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 19 of 48 PageID #: 22
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 20 of 48 PageID #: 23
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 21 of 48 PageID #: 24
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 22 of 48 PageID #: 25
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 23 of 48 PageID #: 26
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 24 of 48 PageID #: 27
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 25 of 48 PageID #: 28
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 26 of 48 PageID #: 29
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 27 of 48 PageID #: 30
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 28 of 48 PageID #: 31
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 29 of 48 PageID #: 32
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 30 of 48 PageID #: 33
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 31 of 48 PageID #: 34
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 32 of 48 PageID #: 35
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 33 of 48 PageID #: 36
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 34 of 48 PageID #: 37
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 35 of 48 PageID #: 38
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 36 of 48 PageID #: 39
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 37 of 48 PageID #: 40
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 38 of 48 PageID #: 41
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 39 of 48 PageID #: 42
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 40 of 48 PageID #: 43
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 41 of 48 PageID #: 44
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 42 of 48 PageID #: 45
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 43 of 48 PageID #: 46
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 44 of 48 PageID #: 47
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 45 of 48 PageID #: 48
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 46 of 48 PageID #: 49
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 47 of 48 PageID #: 50
Case 5:12-cv-05111-JLH Document 1-1   Filed 06/08/12 Page 48 of 48 PageID #: 51
